                                                                              Case 2:17-cv-00356-DSF-AFM Document 25-1 Filed 06/21/17 Page 1 of 2 Page ID #:440



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                                                                                              8                     UNITED STATES DISTRICT COURT
                                                                                              9              FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                                                                                  JUKIN MEDIA, INC., a California     CASE NO. 2:17-cv-00356-DSF-AFM
                                                                                             11   corporation,
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                                                                      Hon. Dale S. Fischer
                                                                                             12                          Plaintiff,
                                                    LOS ANG ELES, CA 900 67
VENABLE LLP




                                                                                                                                      [PROPOSED] ORDER
                                                                                             13                     v.                GRANTING STIPULATION OF
                                                                              310-229-9900




                                                                                                                                      DISMISSAL
                                                                                             14   VIUMBE, LLC, a Delaware limited
                                                                                                  liability company,
                                                                                             15
                                                                                                                         Defendant.   Action Filed:   January 17, 2017
                                                                                             16
                                                                                                                                      Trial Date:      Not set
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                                                                                              2                                                         PROPOSED ORDER
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                                                                                             1         Based on the Stipulation of Dismissal between Plaintiff Jukin Media, LLC
                                                                                             2   and Defendant Viumbe, LLC, the Court retains jurisdiction to enforce the parties’
                                                                                             3   Settlement Agreement and otherwise dismisses this action in its entirety, subject to
                                                                                             4   such retention of jurisdiction.
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                                                                                             6         Entered this ___ day of June, 2017
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                                                                                                                                   U.S. District Judge Dale S. Fischer

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              2049 CENTURY PARK EAST, SUITE 2 300




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                                                    LOS ANG ELES, CA 90067
VENABLE LLP




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                                                                             310-229-9900




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                                                                                             2                                                                    PROPOSED ORDER
